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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11

 ART VAN FURNITURE, LLC et al.,                       Case No.: 20-10553 (CSS)

                         Debtors.                     (Jointly Administered)

                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Ralph E. McDowell to represent Gary A. Van Elslander, as trustee of the Archie
A. Van Elslander Trust and Archie A. Van Elslander Trust.

Dated: September 21, 2020                SMITH, KATZENSTEIN & JENKINS LLP

                                         /s/ Kathleen M. Miller
                                          Kathleen M. Miller (No. 2898)
                                          1000 West Street, Suite 1501
                                          Wilmington, DE 19801
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                                          Email: KMiller@skjlaw.com


                                ORDER GRANTING MOTION

          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




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Dated: September 21st, 2020             CHRISTOPHER S. SONTCHI
Wilmington, Delaware                    UNITED STATES BANKRUPTCY JUDGE
